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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

RIVER LIGHT V, L.P.,
                                                        Case No. 24-cv-08553
                           Plaintiff,

          v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                           Defendants.


                                            COMPLAINT

          Plaintiff River Light V, L.P. (“Plaintiff” or “Tory Burch”) hereby brings the present

action against the Partnerships and Unincorporated Associations identified on Schedule A

attached hereto (collectively, “Defendants”) and alleges as follows:

                                  I. JURISDICTION AND VENUE

          1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331.

          2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, e-commerce stores 1 operating under the seller aliases identified in

Schedule A attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales

to Illinois residents by setting up and operating e-commerce stores that target United States


1
    The e-commerce store URLs are listed on Schedule A hereto under the Online Marketplaces.
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consumers using one or more Seller Aliases, offer shipping to the United States, including

Illinois, accept payment in U.S. dollars and/or funds from U.S. bank accounts, and, on

information and belief, have sold products using infringing and counterfeit versions of Tory

Burch’s federally registered trademarks to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully

caused Tory Burch substantial injury in the State of Illinois.

                                      II. INTRODUCTION

       3.      This action has been filed by Tory Burch to combat e-commerce store operators

who trade upon Tory Burch’s reputation and goodwill by selling and/or offering for sale

unauthorized and unlicensed products, including footwear, handbags, accessories, clothing, and

other products, using infringing and counterfeit versions of Tory Burch’s TORY BURCH,

REVA, “TT” and other trademarks (the “Counterfeit Tory Burch Products”). Defendants create

e-commerce stores operating under one or more Seller Aliases that are advertising, offering for

sale and selling Counterfeit Tory Burch Products to unknowing consumers. E-commerce stores

operating under the Seller Aliases share unique identifiers establishing a logical relationship

between them and suggesting that Defendants’ counterfeiting operation arises out of the same

transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid

and mitigate liability by operating under one or more Seller Aliases to conceal both their

identities and the full scope and interworking of their counterfeiting operation. Tory Burch is

forced to file this action to combat Defendants’ counterfeiting of Tory Burch’s registered

trademarks, as well as to protect unknowing consumers from purchasing Counterfeit Tory Burch

Products over the Internet. Tory Burch has been and continues to be irreparably damaged




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through consumer confusion, dilution, and tarnishment of its valuable trademarks as a result of

Defendants’ actions and seeks injunctive and monetary relief.

                                       III. THE PARTIES

Plaintiff

       4.      Plaintiff is the owner of the intellectual property related to the Tory Burch

lifestyle brand, including the distinctive and famous TORY BURCH and                  (“TT Logo”)

trademarks. For nearly two decades, TORY BURCH and the TT Logo have been used in

connection with the design, manufacture, marketing and sale of Tory Burch’s global fashion line.

       5.      Founded in 2004 in New York City, Tory Burch is an American luxury brand

known for beautiful, timeless pieces and rich storytelling that evokes optimism and joy. Tory is a

fashion designer who draws inspiration from her parents’ effortless style, the worlds of travel, art

and interiors, and women globally. The collections include ready-to-wear, handbags, footwear,

accessories, jewelry, home and beauty (collectively, the “Tory Burch Products”). Empowering

women is the company’s guiding principle, underpinning the design philosophy and company

culture, and driving the work of the Tory Burch Foundation.

       6.      Tory Burch launched out of a small boutique in New York City. Almost

immediately, the business experienced a meteoric rise in recognition and popularity, which led to

its growth into a billion-dollar fashion company. Today, there are more than 350 boutiques

across Norh America, Europe, the Middle East, Latin America, Asia and Australia, with over

100 Tory Burch stores in the United States. The collection is also available at over 700

department and specialty stores worldwide, with a presence in over 80 countries across six

continents, as well as on Tory Burch’s eight e-commerce websites. In Illinois, Tory Burch

Products are offered for sale at various stores, including Saks Fifth Avenue, Nordstrom,


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Bloomingdale’s, and an eponymous boutique located in Chicago’s famous Magnificent Mile

shopping district. Since launch, Tory Burch has invested hundreds of millions of dollars in

marketing and advertising its goods, marks and designs globally.

       7.      The Tory Burch brand has a strong media presence and is frequently covered by

fashion blogs, magazines, newspapers, and talk shows. One of the earliest defining moments for

Tory Burch was in 2005 when Oprah Winfrey endorsed the brand on her talk show; immediately

after Oprah’s endorsement, the Tory Burch website received over eight million hits. Since then,

profiles about Ms. Burch and the Tory Burch company have been featured in many prominent

publications, such as Vanity Fair, Vogue, Fortune, InStyle, the New York Times and Time

(which also named Tory Burch as one of its 100 Most Influential Companies of 2024). Such

publications are extensively circulated in the United States and internationally. And the TT

Logo itself is frequently the subject of unsolicited media coverage and has been repeatedly

recognized for its popularity and iconic status.

       8.      As a result of Tory Burch’s extensive use and promotion of the TORY BURCH

and TT Logo marks, these trademarks have acquired considerable value and are among Tory

Burch’s most valuable assets. Indeed, the TORY BURCH and TT Logo marks have become

famous worldwide as symbols of Tory Burch’s quality, reputation, and goodwill, and serve as

instant source-identifiers for Tory Burch’s products and services.

       9.      The brand has a strong digital media presence, with nearly 300,000 followers on

TikTok and over 2,500,000 followers on Facebook, while Ms. Burch has over 3,500,000

followers on Instagram. Social media platforms reflect the public’s interest in the brand and its

offerings, with fans posting photos of recent purchases and commenting on current and future

collections.



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       10.     Tory Burch Products are particularly popular among the fashion conscious and

celebrity trendsetters. Celebrities seen wearing Tory Burch Products include Hailey Bieber, Gigi

Hadid, Katie Holmes, Mindy Kaling, Blake Lively, Jennifer Lopez, Kate Middleton, Kerry

Washington, Oprah Winfrey, and Reese Witherspoon. When former U.S. First Lady Michelle

Obama wore a tie-dye TORY BURCH dress to an event, the dress quickly sold out on the Tory

Burch website and other online retailers. On another occasion, Kate Middleton was

photographed wearing a graphic print TORY BURCH dress in New Zealand, and the dress sold

out almost immediately on Tory Burch’s website, as well as every other online retailer.

       11.     Both Tory Burch and Ms. Burch, in her capacity as a designer, have received peer

recognition for their contributions to the fashion industry. Among other accolades, Ms. Burch

was awarded the Accessories Designer of the Year honor from the Council of Fashion Designers

of America in 2008, listed in Vanity Fair’s New Establishment List in 2013, named Glamour

Woman of the Year in 2019 and named Harper’s Bazaar’s Designer of the Year in 2023. In

addition, she has consistently been cited as one of Forbes’ Most Powerful Women in the World.

       12.     In addition to common law trademark rights, Tory Burch owns numerous

trademark registrations for its distinctive trademarks worldwide, including with the United States

Patent and Trademark Office (collectively, the “TORY BURCH Trademarks”). A non-exclusive

list of the TORY BURCH Trademarks is included below.

                      Registration No.                    Trademark
                         3,386,532
                         3,428,373
                         3,428,374
                         3,428,816
                                                        TORY BURCH
                         3,758,631
                         3,814,500
                         4,205,354
                         4,656,700



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              Registration No.              Trademark
                 4,045,568
                 4,129,090
                 4,150,523
                 4,213,404
                 4,213,405
                 4,664,182
                 3,029,795
                 3,563,326
                 4,029,068


                 4,317,165
                 4,345,875
                 4,363,739
                 4,382,707




                 4,242,007
                 4,365,683
                 4,459,720




                 3,920,528




                 4,345,879
                 4,345,878
                 4,345,877
                 4,345,880

                 5,368,436
                 4,422,079                    TORY
                 5,015,665
                 3,479,178
                                              REVA
                 3,918,505




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         13.   True and correct copies of the United States Registration Certificates for the

above-listed TORY BURCH Trademarks are attached hereto as Exhibit 1. The registrations for

the TORY BURCH Trademarks are valid, subsisting, in full force and effect, and many are

incontestable pursuant to 15 U.S.C. § 1065.            The registrations for the TORY BURCH

Trademarks constitute prima facie evidence of their validity and of Tory Burch’s exclusive right

to use the TORY BURCH Trademarks pursuant to 15 U.S.C. § 1057(b). The TORY BURCH

Trademarks have been used exclusively and continuously by Tory Burch and its authorized

licensees, some since at least as early as 2004.

         14.   The TORY BURCH Trademarks are owned exclusively by Tory Burch and are

displayed extensively on Tory Burch Products and in Tory Burch marketing and promotional

materials. Since launch, Tory Burch has invested hundreds of millions of dollars in marketing

and advertising its goods, marks and designs globally. Tory Burch maintains strict quality

standards, and Tory Burch Products are inspected and approved by Tory Burch or an agent of

Tory Burch prior to distribution and sale. These efforts have resulted in substantial sales of Tory

Burch Products, as well as invaluable consumer goodwill.

         15.   Tory Burch’s innovative marketing and product design have enabled Tory Burch

to achieve widespread recognition and fame, and have made the TORY BURCH Trademarks

some of the most well-known marks in the fashion industry. Since at least 2004, Tory Burch has

operated a website at toryburch.com, which has received tens of millions of visitors. Sales of

Tory Burch Products at toryburch.com represent a significant portion of Tory Burch’s business.

The toryburch.com website features proprietary content, images and designs exclusive to Tory

Burch.




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The Defendants

       16.     Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified

on Schedule A and/or other seller aliases not yet known to Tory Burch. On information and

belief, Defendants reside and/or operate in the People’s Republic of China or other foreign

jurisdictions with lax trademark enforcement systems, or redistribute products from the same or

similar sources in those locations. Defendants have the capacity to be sued pursuant to Federal

Rule of Civil Procedure 17(b).

       17.     On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their counterfeiting operation

make it virtually impossible for Tory Burch to learn Defendants’ true identities and the exact

interworking of their counterfeit network. If Defendants provide additional credible information

regarding their identities, Tory Burch will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

       18.     The success of the Tory Burch brand has resulted in significant counterfeiting of

the TORY BURCH Trademarks.            In recent years, Tory Burch has identified many fully

interactive, e-commerce stores offering Counterfeit Tory Burch Products on online marketplace

platforms such as Amazon, eBay, AliExpress, Alibaba, Wish.com, Walmart, Etsy, DHgate,

Temu, and TikTok, including the e-commerce stores operating under the Seller Aliases. The

Seller Aliases target consumers in this Judicial District and throughout the United States.

According to U.S. Customs and Border Protection (CBP) report, in 2021, CBP made over 27,000

seizures of goods with intellectual property rights (IPR) violations totaling over $3.3 billion, an



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increase of $2.0 billion from 2020. Intellectual Property Rights Seizure Statistics, Fiscal Year

2021, U.S. Customs and Border Protection (Exhibit 2). Of the 27,000 in total IPR seizures, over

24,000 came through international mail and express courier services (as opposed to containers),

most of which originated from China and Hong Kong. Id.

        19.    Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of

the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also, report on “Combating

Trafficking in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland

Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020) attached as Exhibit 4 and finding

that on “at least some e-commerce platforms, little identifying information is necessary for a

counterfeiter to begin selling” and recommending that “[s]ignificantly enhanced vetting of third-

party sellers” is necessary. Counterfeiters hedge against the risk of being caught and having their

websites taken down from an e-commerce platform by preemptively establishing multiple virtual

store-fronts. Exhibit 4 at p. 22. Since platforms generally do not require a seller on a third-party

marketplace to identify the underlying business entity, counterfeiters can have many different

profiles that can appear unrelated even though they are commonly owned and operated. Exhibit

4 at p. 39. Further, “E-commerce platforms create bureaucratic or technical hurdles in helping

brand owners to locate or identify sources of counterfeits and counterfeiters.” Exhibit 3 at 186-

187.

        20.    Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer



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shipping to the United States, including Illinois, accept payment in U.S. dollars and/or funds

from U.S. bank accounts, and, on information and belief, have sold Counterfeit Tory Burch

Products to residents of Illinois.

        21.     Defendants concurrently employ and benefit from substantially similar

advertising and marketing strategies. For example, Defendants facilitate sales of Counterfeit

Tory Burch Products by designing e-commerce stores operating under the Seller Aliases so that

they appear to unknowing consumers to be authorized online retailers, outlet stores, or

wholesalers. E-commerce stores operating under the Seller Aliases appear sophisticated and

accept payment in U.S. dollars and/or funds from U.S. bank accounts via credit cards, Alipay,

Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller Aliases often include

content and images that make it very difficult for consumers to distinguish such stores from an

authorized retailer. Plaintiff has not licensed or authorized Defendants to use any of the TORY

BURCH Trademarks, and none of the Defendants are authorized retailers of genuine Tory Burch

Products.

        22.     Many Defendants also deceive unknowing consumers by using the TORY

BURCH Trademarks without authorization within the content, text, and/or meta tags of their e-

commerce stores to attract various search engines crawling the Internet looking for websites

relevant to consumer searches for Tory Burch Products. Other e-commerce stores operating

under the Seller Aliases omit using TORY BURCH Trademarks in the item title to evade

enforcement efforts while using strategic item titles and descriptions that will trigger their

listings when consumers are searching for Tory Burch Products.

        23.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete



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information to e-commerce platforms to prevent discovery of their true identities and the scope

of their e-commerce operation.

       24.     E-commerce store operators like Defendants regularly register or acquire new

seller aliases for the purpose of offering for sale and selling Counterfeit Tory Burch Products.

Such seller alias registration patterns are one of many common tactics used by e-commerce store

operators like Defendants to conceal their identities and the full scope and interworking of their

counterfeiting operation, and to avoid being shut down.

       25.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other seller aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features, such as use of the same

registration patterns, accepted payment methods, check-out methods, keywords, advertising

tactics, similarities in price and quantities, the same incorrect grammar and misspellings, and/or

the use of the same text and images. Additionally, Counterfeit Tory Burch Products for sale by

the Seller Aliases bear similar irregularities and indicia of being counterfeit to one another,

suggesting that the Counterfeit Tory Burch Products were manufactured by and come from a

common source and that Defendants are interrelated.

       26.     E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn and kuajingvs.com regarding tactics for operating multiple accounts, evading

detection, pending litigation, and potential new lawsuits.




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        27.     Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation in spite of Tory Burch’s enforcement.

E-commerce store operators like Defendants maintain off-shore bank accounts and regularly

move funds from their financial accounts to off-shore accounts outside the jurisdiction of this

Court to avoid payment of any monetary judgment awarded to Tory Burch. Indeed, analysis of

financial account transaction logs from previous similar cases indicates that off-shore

counterfeiters regularly move funds from U.S.-based financial accounts to off-shore accounts

outside the jurisdiction of this Court.

        28.     Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Counterfeit Tory Burch Products in the same

transaction, occurrence, or series of transactions or occurrences.       Defendants, without any

authorization or license from Plaintiff, have jointly and severally, knowingly and willfully used

and continue to use the TORY BURCH Trademarks in connection with the advertisement,

distribution, offering for sale, and sale of Counterfeit Tory Burch Products into the United States

and Illinois over the Internet.

        29.     Defendants’ unauthorized use of the TORY BURCH Trademarks in connection

with the advertising, distribution, offering for sale, and sale of Counterfeit Tory Burch Products,

including the sale of Counterfeit Tory Burch Products into the United States, including Illinois, is

likely to cause and has caused confusion, mistake, and deception by and among consumers and is

irreparably harming Tory Burch.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        30.     Tory Burch hereby re-alleges and incorporates by reference the allegations set

forth in the preceding paragraphs.

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       31.    This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered TORY

BURCH Trademarks in connection with the sale, offering for sale, distribution, and/or

advertising of the Counterfeit Tory Burch Products. The TORY BURCH Trademarks are highly

distinctive marks.   Consumers have come to expect the highest quality from Tory Burch

Products offered, sold or marketed under the TORY BURCH Trademarks.

       32.    Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of the TORY BURCH Trademarks without Tory Burch’s permission.

       33.    Tory Burch is the exclusive owner of the TORY BURCH Trademarks. Tory

Burch’s United States Registrations for the TORY BURCH Trademarks (Exhibit 1) are in full

force and effect. Upon information and belief, Defendants have knowledge of Tory Burch’s

rights in the TORY BURCH Trademarks and are willfully infringing and intentionally using

counterfeits of the TORY BURCH Trademarks.                Defendants’ willful, intentional and

unauthorized use of the TORY BURCH Trademarks is likely to cause and is causing confusion,

mistake, and deception as to the origin and quality of the Counterfeit Tory Burch Products

among the general public.

       34.    Defendants’    activities   constitute   willful   trademark   infringement   and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       35.    Tory Burch has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Tory Burch will continue to suffer irreparable harm to its reputation and the goodwill

in the well-known TORY BURCH Trademarks.




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          36.   The injuries and damages sustained by Tory Burch have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Tory Burch Products.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

          37.   Tory Burch hereby re-alleges and incorporates by reference the allegations set

forth in the preceding paragraphs.

          38.   Defendants’ promotion, marketing, offering for sale and sale of Counterfeit Tory

Burch Products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association between Tory Burch and

Defendants, or the origin, sponsorship, or approval of Defendants’ Counterfeit Tory Burch

Products by Tory Burch.

          39.   By using the TORY BURCH Trademarks in connection with the sale of

Counterfeit Tory Burch Products, Defendants create a false designation of origin and a

misleading representation of fact as to the origin and sponsorship of the Counterfeit Tory Burch

Products.

          40.   Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Tory Burch Products to the general public involves

the use of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C.

§ 1125.

          41.   Tory Burch has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Tory Burch will continue to suffer irreparable harm to its reputation and the associated

goodwill of its Tory Burch brand.




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                                  PRAYER FOR RELIEF

WHEREFORE, Tory Burch prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under or in active concert with

   them be temporarily, preliminarily, and permanently enjoined and restrained from:

      a. using the TORY BURCH Trademarks or any reproductions, counterfeit copies or

          colorable imitations thereof in any manner in connection with the distribution,

          marketing, advertising, offering for sale, or sale of any product that is not a Tory

          Burch Product or is not authorized by Tory Burch to be sold in connection with the

          TORY BURCH Trademarks;

      b. passing off, inducing, or enabling others to sell or pass off any product as a Tory

          Burch Product or any other product produced by Tory Burch, that is not a Tory Burch

          Product, or not produced under the authorization, control, or supervision of Tory

          Burch and approved by Tory Burch for sale under the TORY BURCH Trademarks;

      c. committing any acts calculated to cause consumers to believe that Defendants’

          Counterfeit Tory Burch Products are those sold under the authorization, control or

          supervision of Tory Burch, or are sponsored by, approved by, or otherwise connected

          with Tory Burch;

      d. further infringing the TORY BURCH Trademarks and damaging Tory Burch’s

          goodwill; and

      e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

          moving, storing, distributing, returning, or otherwise disposing of, in any manner,

          products or inventory not manufactured by or for Tory Burch, nor authorized by Tory



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           Burch to be sold or offered for sale, and which bear any of Tory Burch’s trademarks,

           including the TORY BURCH Trademarks, or any reproductions, counterfeit copies,

           or colorable imitations thereof;

2) Entry of an Order that, upon Tory Burch’s request, those with notice of the injunction,

   including, without limitation, any online marketplace platforms such as eBay, AliExpress,

   Alibaba, Amazon, Wish.com, Walmart, Etsy, DHgate, Temu, and TikTok (collectively, the

   “Third Party Providers”) shall disable and cease displaying any advertisements used by or

   associated with Defendants in connection with the sale of counterfeit and infringing goods

   using the TORY BURCH Trademarks;

3) That Defendants account for and pay to Tory Burch all profits realized by Defendants by

   reason of Defendants’ unlawful acts herein alleged and that the amount of damages for

   infringement of the TORY BURCH Trademarks be increased by a sum not exceeding three

   times the amount thereof as provided by 15 U.S.C. § 1117;

4) In the alternative, that Tory Burch be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   TORY BURCH Trademarks;

5) That Tory Burch be awarded its reasonable attorneys’ fees and costs; and

6) Award any and all other relief that this Court deems just and proper.




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Dated this 17th day of September 2024.   Respectfully submitted,

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